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_ _!,_:_7:._!_;_i:!_            ,V_:? _ '_,_'_,_W__,__yeoe_                _   .....   _ .   •    .__,___-,:




                                                              OT.              .                                                                         i
                                                     California
                                                     OFFICEOF THESECRETARY
                                                                         OF STATE
                                                                                                               ......
                                                                                                                  .........
                                                                                                                        .,,


                 I, MARCH FONG EU, Secretary                                                     of State of the State
              of California, hereby certify:

                 That the annexed transcript has been compared with
              the record on file in this office, of which it purports to be
              a copy, and that same is full, true and correct.



                                                                           1N WITNESS       WHEREOF,      1 execute
                                                                               this certificate and affix the Great
                                                                               Seal of the State of California this

                                                                                                 1st     day    of   December,      1993




 _EC/STATE   FORM   C E- 107                                        ,_._
                                                                     __                                                                    _   _   OSF




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                         Murder Penalty -- Imttahve
                                             "" " Statute
                                                          Argument       in Favor    of Proposition     7

              CHARLES MANSON, SIRHAN SIRHAN, THE ZO-                                      And, if you were to be killed on your way home to-
          DIAC KILLER,          THE SKID-ROW               SLASHER,        THE         night simply because the murderer             was high on dope
          HILLSIDE       STRANGLER.                                                    and wanted the thrill, that criminal would not receive
              These infamous names have become far too familiar                        the death penalty.          Why. p Because               "
                                                                                                                                      the Legmlature      ,
                                                                                                                                                            s
          to every Californian.      They represent         only a small por-          weak death penalty law does not apply to every mur-
          t'ion of the deadly plague of violent crime which terror-                    derer. Proposition 7 would•
          izes law-abiding     citizens.                                                  Proposition 7 would also apply to the killer of a judge,
              Since 1972, the people have been demanding               a tough,        a prosecutor,    or a fireman. It would apply to a killer who
         effective death penalty law to protect our families from                     murders a citizen in cold blood because of his race or
         ruthless killers. But, every effort to enact such a law has                  religion or nationality. And, it would apply to all situa-
         been thwarted       by powerful        anti-death     penalty politi-         tions which are covered by our current death penalty
         clans in the State Legislature.                                              law.
             In August of 1977, when the public outcry for a capital                      In short, your YES vote on Proposition              7 ,will give
         punishment       law became        too loud to ignore, the anti-             every Californian the protection           of the nation s tough-
         death penalty politicians used their influence               to make         est, most effective death penalty law.
         sure that the death penalty             law passed by the State                  A long and distinguished         list of judges and law em
         Legislature     was as weak and ineffective            as possible,          forcement      officials have agreed that Proposition         7 will
             That is why 470,000 concerned            citizens signed peti-           provide    them    with   a
                                                                                      their war on violent crime. powerful    weapon   of deterrence     in
         tions to give you the opportunity            to vote on this new,
         tough death penalty law.                                                       Your YES vote on Proposition 7 will help law enforce-
                                                                                      ment officials to stop _ioleht crime--NOW.
             Even if the President       of the United States were assas-
         sinated in California, his killer would not receive the                               JOHN v. BIUGGS
         death penalty ",m some circumstances.                Why? Because                     .Senntor, State o£Cali[ornia
         the'Legislature     s weak death penalty law does not ap-                             sath Distffct
         ply. Proposition 7 would.                                                             DONALD H. HE!.I I¢1_                                    :
             If Charles Manson were to order his family of drug-                               attorner st l_w                                             f
         crazed killers to slaughter your family, Manson would
         not receive the death penalty. Why? Because the Legis-
                                                                                               Former Federal Prosecutor
                                                                                               DUANE LOWE
                                                                                                                                                           t
         lature's death penalty law does not apply to the master                               P, esiaent, CallforrffaShedffs'Assoeistion
         mind of a murder such as Martson. Proposition 7 would,                                gherit_ of Sacramento County


                                                  Rebuttal     to Argument        in Favor   of Proposition       7
        The argument      for Proposition 7 is strictly false adver-                     The present    law is not "weak and ineffective"        as
     rising,                                                                          claimed by Proposition 7 proponents.     It applies to mur-
         • It would not affect the Charles Manson and Sirhan                          der eases like the ones cited.
           Sirhan cases. They were sentenced           under an old                      Whether or not you believe that a death penalty law
           law, thrown out by the courts because it was ira-                          is necessary to our system of justice, you should vote NO
           properly w,ritten.           ,.                                            on Proposition 7. It is so confusing that the courts may
         • As for the    zodiac killer , "hillside strangler"    and                  well throw it out. Your vote on the murder          penalty.
           "'skid-row slasher", they were never caught, Even                          initia_ve will not be a vote on the death penalty; it will
           t he nation
                     " "s " toughest " death penalty law cannot                       be a vote on a carelessly drafted, dangerously vague and
           substitute for thelaw enforcement         work necessary                   possibly invalid statute.
           to apprehend      suspects still on the.loose.                                Don't be fooled by false advertising. READ Proposi-
        But you already know that. ,                                                  tion 7. VOTE NO.
        Regardless of the proponents _claim no death penalty                                                                                                   "
(:. law--neither    Proposition 7 nor the current California                                   MAXINE SINGER                          -"
 i: law--can guarantee the autornalfc execution of all con-                                    President, California Probation, Parole
_. • victed murderers, let alone suspects not yet apprehend-                                     and Con_ctionM Assoeiah'on
 , ed,

    •      California   has a strong death penalty        law. Two-thirds                      NATHANIEL
                                                                                               Board Membvt,S.National
                                                                                                               COI.LFY ALcsoez'ab'on
                                                                                                                                  for the "
   !_: of the Legislature    approved it in August     1977, after                              Advantwment of Colored People
 :: '.months    of careful drafting and persuasive lobbying by
• "_:_ilaw enforcement    officials and other death penalty advo-                              JOHN PAIRMAN BROWN
;,=" eates.                                                                                    Board Member, CalhrornimChurch Council




                              Arguments     printed    on this page are the opinions of the authors            and have not been
    34                                                checked   for accuracy by any official agency.




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     •                                                             Murder.             Penalty--Initiative                        Statute

               ..                                              Argument      Against    Proposition       7

            DON'T      BE FOOLED BY FALSE ADVERTISING.                                       Proposition 7 does allow the death penalty in more
        The question you are voting on is NOT whether Califor-                            cases than present law. But what cases?
         nia should have the death penalty. California AL-                                  Under Proposition 7, a man or woman could be sen-
         READY has the death penalty,                                                     tented to die for lending another person a screwdriver
            The question is NOT whether California should have                           to use in a burglary, if the other person accidentally
        a tough, effective death penalty. California ALREADY                             killed someone during the burglary. Even if the man or
         has the death penalty for more different kinds of crimes                        woman was not pi'esent during the burglary, had no
        than any other State in the country,                                             intention that anyone be killed or hurt, in fact urged the
            The question you are voting on is whether to repeal                          burglar not to take a weapon along, they could still be
         California s present      death-penalty     law and replace         it          sentenced     to die.
        with a new one. Don't be fooled by false advertising.                If             This is the kind of law that wastes taxpayers'    money
        somebody       tried to sell you a new car, you'd compare it                      by putting counties to the expense of capital trials in
        with your present automobile            before paying a higher                   many cases where the death penalty is completely       inap-
        price for a worse machine,                                                       propriate.    To add to the waste, Proposition   7 requires
            Whether      or not you agree with California's present                       two or more jury trials in some eases where present law
        law, it was written carefully by people who believed in                          requires only one.
        the death penalty and wanted to see it used effectively.                            Don t let yourself be fooled by claims that Proposition
        It was supportedby         law enforcement       officials familiar              7 will give California a more effective penalty for tour-
        with criminal law_                                                               der. It won't. DON'T BE FOOLED            BY FALSE AD-
         -..The new law proposed          by Proposition 7 is written                  ' VERTISING.       Vote NO on Propositio/a 7_ "
        carelessly and creates problems instead of solving them.
        For example,        it does not even say what happens               to
        people charged with murder under the present law if                                      MAXlNE SINGER
     5 the 'n6_v one goes into effect.              °"       ,,                                  Presiden_ CMi£orniaprobation, Parole
            As'_mother      example, it first says _hat aggravating                                zndCorr_chbnMAsrocia_bn
        circumstances"         must outweigh       "mitigating      circum-
      stances     , to support a death,, sentence. Then it says that                            NATHANIEL
                                                                                                Board  Membe 6S,N,Co_
                                                                                                                   qtlbnal Asaoclation   for   the

*:" _l_:ni. "tigating circum, stances      must outweigh          aggravat-                        Adv_ncemento£ColoredPeople.
/_ _ll_g _ircumstances             to support a life sentence.          This
        leaves the burden of proof unclear. As a result, court                                  JO/-IN/'A/rtMAN BROWN
        processes     would become even more complicated.                                       Board Member, Cdffornia Church Council


                                                    Rebuttal     to Argument       Against    Proposition        7
          ALRIGHT,       LET'S TALK ABOUT FALSE ADVER-                                 could have told them this provision is required         by the
       TISING.                                                                         U.S. Supreme      Court• The old law does not meet this
          The opposition maintains      ff someone were to lend a                      requirement      and might be declared     unconstitutional,
       screwdriver     to his neighbor and the neighbor used it to                     leaving us with no death penalty at all!
       commit a murder, the poor lender could get the death                               If we are to turn back the rising tide of violent crime
       penalty,    even though      he had NO INTENTION       that                     that threatens    each and every one of us, we must act
       anyone be killed.                                                               NOW.
      • Please turn back and read Section 6b of the Proposi-                              This citizen's initiative will give your family the pro-
       tion 7.'It says that the person must have INTENTION-                            tection of•the strongest, most effective death penalty
       ALLY aided in the commission of a murder to be sub-                             law in the nation.
        ject to the death penalty under this initiative.
            They say that Proposition 7 doesnt specifywhat      hap-                            JOHN v,State
                                                                                                _nator,   BBIGGS
                                                                                                              of Callfornia
        pens to those who have been charged with murder                                         _th Dictn'ot                                         "
    • uiidel- the old law. Any first-year law student could have                                             ......
         told them Proposition 7 will not be applied retroactive-                               DO/_I._ H. H_.r._n
     .- ly. Anyone arrested under an oldlaw will be tried and                                   Anorner_tl_                                          =
        sentenced    under the old law. '             •                                         Former Federal Prosecutor
         "-The opposition can't understand        why we included                               DUANE LOWE
        the aggravating    vs. mitigating circumstances   provision                             Presldeng C_llfomi_ $be_[15"A_oclatioa
    _!?in Proposition    7. Well, that same first-year law student                              Sheriff   of $_mento     County




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         • '                 Arguments      printed on this page are the opinions of the authors and have not been
                                                    checked for accuracy by any official agency.                                                             35




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